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                                                                       U.S. DISTRICT COURT
                                                                           N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          WESTERN DIVISION

EDWARDS,                            ]
                                    ]
     Plaintiff,                     ]
                                    ]
     vs.                            ] 7:08-CV-02203-LSC
                                    ]
MIDLAND CREDIT MANAGEMENT,          ]
INC., et al.,                       ]
                                    ]
     Defendants.                    ]

                                  ORDER

     The Court has been advised that the above-entitled case has been

settled. Therefore, this matter is DISMISSED with prejudice. Any party may,

for good cause shown, reopen the action within thirty (30) days from the

date of this Order. Costs are taxed as paid.

     Done this 16th day of April 2009.




                                        L. SCOTT COOGLER
                                   UNITED STATES DISTRICT JUDGE
